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                                        PROOF OF SERVICE OF DOCUMENT
1

2
     I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
     OFFICE OF THE U.S. TRUSTEE, 411 W. 4TH STREET, #7160, SANTA ANA, CA 92701
3
      A true and correct copy of the foregoing document described as APPLCATION FOR APPROVAL OF
4     STIPULATION AND STIPULATION TO DISMISS CASE PURSUANT TO 11 U.S.C. §707(b)(2) WITH A 180
      DAY BAR TO RE-FILING PURSUANT TO 11 U.S.C. §§105(a) and 349(a)
5

6    will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-
     2(d); and (b) in the manner indicated below:
7
     I. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (“NEF”) – Pursuant to
8
     controlling General Order(s) and Local Bankruptcy Rule(s) (“LBR”), the foregoing document will be served by the
9    court via NEF and hyperlink to the document. On September 9, 2022, I checked the CM/ECF docket for this
     bankruptcy case or adversary proceeding and determined that the following person(s) are on the Electronic Mail
10   Notice List to receive NEF transmission at the email address(es) indicated below.

11       •   Anerio V Altman LakeForestBankruptcy@jubileebk.net, lakeforestpacer@gmail.com
         •   Thomas H Casey (TR) msilva@tomcaseylaw.com, thc@trustesolutions.net
12
         •   Richard G. Heston rheston@hestonlaw.com,
13           yflores@hestonlaw.com,docs@hestonlaw.com;HestonRR41032@notify.bestcase.com,handhecf@g
             mail.com
14       •   Bill J Parks attparks@aol.com
         •   United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov
15

16   II. SERVED BY U.S. MAIL OR OVERNIGHT MAIL(indicate method for each person or entity served): On
     September 9, 2022, I served the following person(s) and/or entity(ies) at the last known address(es) in this
17   bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the
     United States Mail, first class, postage prepaid, and/or with an overnight mail service addressed as follows. Listing
18   the judge here constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the
     document is filed
19
     SEE SUPPLEMENTAL PROOF OF SERVICE
20

21
     III. SERVED BY PERSONAL DELIVERY, FACSIMILE TRANSMISSION OR EMAIL (indicate method for
     each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on September 9, 2022, I served the
22   following person(s) and/or entity(ies) by personal delivery, or (for those who consented in writing to such service
     method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that
23   personal delivery on the judge will be completed no later than 24 hours after the document is filed.

24            I declare under penalty of perjury under the laws of the United States of America that the foregoing
     is true and correct.
25

26     September 9, 2022                  Tari King                           /s/ Tari King
       Date                            Type Name                              Signature
27

28


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